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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               CRIMINAL NO. 06-20663
               Plaintiff,

v.                                             DISTRICT JUDGE AVERN COHN

D-13, RICARDO MCFARLIN,

               Defendant.
                                        /


         ORDER DENYING DEFENDANT’S MOTION TO ALLOW DEFENDANT
               TO REPORT TO DESIGNATED PENAL INSTITUTION

       Before is the Defendant’s Motion to Allow Defendant to Report to Designated Penal

Institution.   The Government has responded.       The Court being fully advised in the

premises,

       IT IS HEREBY ORDERED that the motion is DENIED. The Defendant shall

surrender to the U.S. Marshal by Noon on Monday, January 12, 2009.

       SO ORDERED.

Dated: January 6, 2009                       s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, January 6, 2009, by electronic and/or ordinary mail.


                                             s/Julie Owens
                                            Case Manager, (313) 234-5160
